     Case 2:19-cv-01901-GMN-BNW Document 30
                                         29 Filed 11/06/20 Page 1 of 3



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 6   Attorney for Plaintiff
 7
                                   UNITED STATES DISTRICT COURT
 8
                                           DISTRICT OF NEVADA
 9

10   SANTOS GARCIA, a married individual,                     CASE NO: 2:19-cv-01901-GMN-BNW
11                   Plaintiff,
12            vs.                                                STIPULATION AND [PROPOSED]
                                                                  ORDER TO EXTEND TIME FOR
13   HARRAH’S LAS VEGAS, LLC d/b/a HARRAH’S                        PLAINTIFF TO RESPOND TO
     CASINO HOTEL LAS VEGAS, a Domestic                            DEFENDANT’S MOTION FOR
14   Limited-Liability Company; DOES I through X,
     inclusive; ROE CORPORATIONS I through X,                        SUMMARY JUDGMENT
15   inclusive,                                                         (Second Request)
16                   Defendants.
17
            COMES NOW, Plaintiff, SANTOS GARCIA, (hereinafter, “Garcia”), by and through his
18
     counsel, Trevor J. Hatfield, Esq., of the law firm of Hatfield & Associates, Ltd., and HARRAH’S
19
     LAS VEGAS, LLC d/b/a HARRAH’S CASINO HOTEL LAS VEGAS, (hereinafter “Defendant”),
20

21   by and through its counsel Shannon S. Pierce, Esq., of the law firm of Fennemore Craig, P.C. and

22   do hereby stipulate and agree to a two-week extension of time to respond to Defendant’s Motion for
                                                         28




23   Summary Judgment (Doc #24) from November 2, 2020 up to and including November 16 2020.
24          This extension is requested because the parties have focused their attention on possible
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     settlement and, as such, plaintiff has not yet completed his opposition.
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            This request is submitted pursuant to LR IA 6-1, 6-2 and LR II 7-1 and 26-4 and is the
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     parties’ second request for an extension of the time for the parties to respond to this motion.
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     Case 2:19-cv-01901-GMN-BNW Document 30
                                         29 Filed 11/06/20 Page 2 of 3



 1          Accordingly, Plaintiff’s shall have up to and including November 16, 2020 to respond to

 2   Defendant’s Motion to for Summary Judgment.
 3
     Dated this 6th day of November 2020.           Dated this 6th day of November 2020.
 4
     HATFIELD & ASSOCIATES, LTD.                    FENNEMORE CRAIG, P.C.
 5
     By:    /s/ Trevor J. Hatfield              _   By: /s/ Shannon S. Pierce                   .
 6   Trevor J. Hatfield, Esq. (SBN 7373)            Shannon S. Pierce (Bar No. 12471)
     703 S. Eighth St.                              Elizabeth J. Bassett (Bar No. 9013)
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     Las Vegas, Nevada 89101                        7800 Rancharrah Parkway
 8   Tel.: (702) 388-4469 Tel.                      Reno, NV 89511
     Email: thatfield@hatfieldlawassociates.com     Telephone: (775) 788-2200
 9   Attorney for Plaintiff                         Email: spierce@fclaw.com
                                                    Attorneys for Defendant
10                                                  Harrah’s Las Vegas, LLC
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                                               IT IS SO ORDERED.
16                                             DATED this __
                                                           6 day of November, 2020.
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                                               ___________________________________
21                                             Gloria M. Navarro, District Judge
                                               UNITED STATES DISTRICT COURT
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     Case 2:19-cv-01901-GMN-BNW Document 30
                                         29 Filed 11/06/20 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2          I certify that on November 6, 2020, I electronically filed the foregoing STIPULATION
 3
     AND [PROPOSED] ORDER TO EXTEND TIME FOR PLAINTIFF TO RESPOND TO
 4
     DEFENDANT’S MOTION FOR FOR SUMMARY JUDGMENT with the Clerk of the Court
 5
     using the ECF system which served the parties hereto electronically.
 6
     Dated this November 6, 2020.                         By:         /s/ Freda P. Brazier
 7
                                                          An Employee of Hatfield & Associates, Ltd.
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